Dear Secretary Carnahan:
This office received your letter of April 10, 2008, submitting a proposed summary statement prepared under Section 116.334, RSMo, for the petition submitted by Todd Jones, (version 8) on March 19, 2008. The proposed summary statement is as follows:
Shall the Missouri Constitution be amended to repeal current provisions approved by voters in 2006 which guaranteed Missouri patients access to stem cell therapies and cures and permitted researchers to conduct stem cell research in accordance with federal law by:
  • allowing the Missouri legislature or state officials to eliminate, reduce or deny access to state funds for institutions involved in stem cell research, therapies and cures; and
  • allowing the Missouri legislature or state officials to ban or limit the access of Missourians to stem cell research, therapies and cures?
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.